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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND


                                                      Civil Action No. 1:20-CV-3531
 ASSOCIATION OF COMMUNITY
 CANCER CENTERS, et al.,

              Plaintiffs,
     v.

 ALEX M. AZAR, II, et al.,

              Defendants.


                               DEFENDANTS’ MOTION TO SEAL
          Pursuant to Local Rules 105.11 and 113.3, Defendants hereby move to seal the unredacted

version of Defendants’ Opposition to Plaintiffs’ Motion for Temporary Restraining Order or

Preliminary Injunction. The unredacted version of Defendants’ Opposition includes information

contained in certain declarations that are the subject of pending Motions to Seal in this Court. See

Opp. at 30, 31; Plaintiffs’ Motion to Seal and For a Protective Order, ECF No. 26; Altus Biologics’

Motion to Seal Declaration Filed in Support of Plaintiffs’ Motion for a Preliminary Injunction, ECF

No. 28; Healix Infusion Therapy, LLC’s Motion to Seal Declaration Filed in Support of Plaintiffs’

Motion for a Preliminary Injunction, ECF No. 30.

          Although Defendants do not take a position on the pending motions to seal at this time,

Defendants ask this Court to seal the unredacted version of Defendants’ Opposition, at least until the

Court rules on the pending motions to seal. Defendants have filed a redacted version of their

Opposition on this Court’s public docket.



Dated: December 15, 2020                          Respectfully submitted,

                                                  JEFFREY BOSSERT CLARK
                                                  Acting Assistant Attorney General
                                                  Civil Division

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                              MICHELLE R. BENNETT
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